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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF GEORGIA
                                WAYCROSS DIVISION

DR. MAHENDRA AMIN, M.D.,                     )
                                             )
       Plaintiff,                            )
                                             )   Case No. 5:21-CV-00056-LGW-BWC
v.                                           )
                                             )
NBCUNIVERSAL MEDIA, LLC,                     )
                                             )
      Defendant.                             )
_______________________________

            PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT

       Starting on September 15, 2023, NBCUniversal made false and defamatory broadcasts to

the world that Dr. Mahendra Amin performed mass, forced hysterectomies without consent,

authorization, and/or necessity, on women detained by United States Immigration and Customs

Enforcement (ICE) at the Irwin County Detention Center (ICDC), among other similar and

related statements. NBCUniversal broadcast these statements despite having only (at most)

information about two hysterectomies that Dr. Amin allegedly performed, being informed that

ICE had records of only two hysterectomies (both approved by ICE), detainee lawyers informing

that they were not seeing high numbers of hysterectomies and that at least one hysterectomy was

to treat cancer, the two journalists most involved in the story communicating doubt about its

truthfulness only hours after publication, and the Deputy Head of Standards expressing “serious

concerns” about the story and never having officially approved the story prior to publication.

Whether this and the other evidence developed during discovery proves actual malice, and the

extent of Dr. Amin’s damages, are questions for the jury. But there is no genuine issue of

material fact that broadcasts that Dr. Amin performed mass hysterectomies were false and

defamatory and that because of the nature of the statements Dr. Amin is entitled to at least
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¶¶     40-43.



                                                                                                 The

OIG investigation appears to be resolved, as Ms. Wooten represented in a court filing that she

received notice from OIG that “the conditions for exhaustion of administrative remedies have

been met in this case.” SOMF ¶ 45.

        C. NBCUniversal Published False, Defamatory Statements Alleging that Dr. Amin
           Performed Mass Forced Hysterectomies without Consent, Authorization, and/or
           Necessity.

        As stated above, the letter that NBCUniversal clings to for support for its defamatory

reporting did not identify Dr. Amin. This is not surprising given the lack of substantiated

allegations against him and the focus of the letter on COVID-19 conditions. NBCUniversal,

however, not only identified Dr. Amin, but made him the focus of multiple broadcasts from

September 15-17, 2020 (“broadcasts”) and additional social media posts. NBCUniversal’s

coverage exceeded the scope of the letter and misstated Dr. Amin’s treatment, accusing Dr.

Amin of performing mass forced hysterectomies without consent, authorization, and/or

necessity. Specifically, NBCUniversal published the following Statements on which Dr. Amin

moves for summary judgment, organized in order of appearance in Dr. Amin’s complaint, Doc.

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COMPLAINT STATEMENT
First Broadcast: “Deadline: White House,” September 15, 2020
75(a)            High numbers of female detainees, detained immigrants, at an ICE
                 detention center in Georgia received questionable hysterectomies while in
                 ICE custody.
75(f)            There were women who were told that they needed a hysterectomy
                 because they had cancer. One of those women, her medical records does
                 not indicate that she ever had a biopsy to indicate that she had cancer and
                 another case, a lawyer told me that his client had a hysterectomy because
                 she was told she had stage four cervical cancer and after the hysterectomy
                 when she went to the oncologist, the oncologist said you do not have
                 cancer, so these are alarming allegations about this doctor.
75(g)            This is his specialty, he’s the uterus collector.
75(h)            Well, what is he doing . . . collecting all of our uteruses?
75(j)            And perhaps doing very unnecessary procedures and not what you would
                 need in a short-term detention situation.
76               [Headline on screen] High number of hysterectomies at ICE Detention
                 Ctr.
Second Broadcast: “All In with Chris Hayes,” September 15, 2020
78(f)            Migrant women say that a doctor was performing unauthorized
                 hysterectomies on immigrant women detained at that facility.
78(g)            Two of his clients received hysterectomies they believe may have been
                 unnecessary.
78(h)            Two different women who claim they also had unnecessary
                 hysterectomies while detained at this facility.
78(i)            As many as 15 immigrant women were given full or partial
                 hysterectomies or other procedures for which no medical indication
                 existed.
78(j)            Is he the uterus collector? Does he collect uteruses?
78(k)            Everyone that I talked to has had a hysterectomy.
78(l)            They would say is he the uterus collector?
79               [Headline on screen] Mass hysterectomies performed on women at ICE
                 facility
Fourth Broadcast: “The Rachel Maddow Show,” September 15, 2020
84(a)            Immigrant women at that facility have told her that they routinely have
                 been sent to a gynecologist who has performed unnecessary procedures on
                 them, including hysterectomies.
84(b)            They have been sending immigrant women in their care, in their custody,
                 to a doctor who has removed their reproductive organs for no medical
                 reason and without them consenting to it.
84(c)            Five different women between October, November, and December 2019,
                 over that three-month period, five different women who’d had a
                 hysterectomy done.
84(d)            I thought this was like an experimental concentration camp. It was like
                 they’re experimenting with our bodies.
84(e)            Everybody this doctor sees has a hysterectomy, just about everybody.


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 84(f)           He’s even taken out the wrong ovary on one detained immigrant woman.
                 She was supposed to get her left ovary removed because it had a cyst on
                 the left ovary. He took out the right one. She had to go back to take out
                 the left and wound up with a total hysterectomy.
 84(g)           He’s taking everybody stuff out, that’s his specialty.
 84(h)           He’s the uterus collector.
 84(i)           Is he collecting these things or something?
 84(j)           Everybody he sees he’s taking all their uteruses out or he’s taking their
                 tubes out.
 84(k)           He removed the uteruses of these refugee women for no medical reason,
                 without their proper informed consent.
 84(l)           Two women who were detained at the facility say they received
                 hysterectomies that they believe may have been unnecessary.
 Fifth Broadcast: “All In with Chris Hayes,” September 17, 2020
 86(a)           We’ve been bringing you the story of allegations of medical procedures
                 performed on immigrant women without—many without consent at an
                 ICE detention facility in Georgia.
 Social Media Posts: First Twitter Post, Second Twitter Post, Facebook Post
 89              Learn more about the three women claiming they have received
                 unnecessary hysterectomies here: on.msnbc.com/2FJlvra.
 89              Three women claim they received unnecessary hysterectomies at ICE
                 facility. “I felt like I had no right to say anything. Dr. Amin just told me,
                 you’re gonna get a hysterectomy done, and schedule an appointment for
                 that. I had no say on this. on.msnbc.com/2FJlvra
 89              Nurse Dawn Wooten alleges mass hysterectomies performed at Georgia
                 facilities: “I had several detained women on numerous occasions that
                 would come to me and say, ‘Ms. Wooten, I had a hysterectomy. Why?’ I
                 had no answers as to why they had those procedures.”

         As a result of NBCUniversal’s false and defamatory broadcasts, Dr. Amin, who is an

immigrant himself, was flooded with vitriol and hatred, causing damage to his personal and

professional reputation, lost patients, and suffered extreme stress, emotional distress,

embarrassment, humiliation, and other mental pain and suffering. Pl. SOMF ¶¶ 70-75.

                                      LEGAL STANDARD

         “A party may move for summary judgment, identifying each claim or defense—or the

part of each claim or defense—on which summary judgment is sought.” Fed. R. Civ. P. 56(a).

“Summary judgment is required where ‘the movant shows that there is no genuine dispute as to

any material fact and the movant is entitled to judgment as a matter of law.’” U.S. v. Aegis


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Therapies, Inc., Case No. 2:10-cv-72, 2015 WL 1541491, at *11 (S.D. Ga. Mar. 31, 2015)

(quoting Fed. R. Civ. P. 56(a)). A fact is “material” if “it might affect the outcome of the suit

under the governing law,” and there is a “genuine dispute” if “evidence is such that a reasonable

jury could return a verdict for the nonmoving party.” Id. (quotation marks omitted). “The party

seeking summary judgment bears the initial burden of demonstrating the absence of a genuine

issue of material fact.” Id. (citing Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986)).

       In Georgia, a plaintiff alleging defamation must show: “that the defendant made a false

and defamatory statement concerning the plaintiff; that the defendant made an unprivileged

communication of that statement to a third party; fault by the defendant constituting at least

negligence; and either that the plaintiff suffered special harm or that the statement is actionable

even in the absence of special harm.” Houston v. Elan Fin. Servs., 135 F. Supp. 3d 1375, 1381

(S.D. Ga. 2015) (quotation marks omitted). “A publication deemed to be defamatory must be

read and construed in the sense in which the readers to whom it is addressed would ordinarily

understand it.” Lucas v. Crenshaw, 289 Ga. App. 510, 513 (2008) (quotation marks omitted).

Where a communication is conditionally privileged, the plaintiff must show that a statement was

published with “actual malice,” that is, “knowledge of its falsity or reckless disregard for its

truth,” rather than mere negligence. Hammer v. Slater, 20 F.3d 1137, 1142-43 (11th Cir. 1994).

                                           ARGUMENT

       Dr. Amin moves for summary judgment as to the following elements of his defamation

claim: (1) the Statements were false; (2) the Statements were defamatory; (3) the Statements

were “of and concerning” Dr. Amin; (4) NBCUniversal published the Statements to a third party;

and (5) the Statements are actionable even in the absence of special harm. Further, Dr. Amin

moves for summary judgment as to NBCUniversal’s First, Third, Fourth, Seventh, Eleventh, and




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Twelfth Affirmative Defenses.

   I.      NBCUniversal’s Statements Were False.

        Dr. Amin did not perform “mass” or “high numbers” of hysterectomies on women

detained by ICE at ICDC, both of the two hysterectomies he performed were medically

necessary—even according to NBCU’s own experts, both of the two hysterectomies he

performed were authorized, both of the two hysterectomies he performed were done with the

consent of the patient, and NBCUniversal’s statement that Dr. Amin removed the wrong ovary

from a patient resulting in a total hysterectomy is false. A statement is “false” for purposes of

Georgia defamation law if “it would have a different effect on the mind of the viewer from that

which the pleaded truth would have produced.” Bryant v. Cox Enters., Inc., 311 Ga. App. 230,

234 (2011) (quotation marks omitted). “Minor inaccuracies do not amount to falsity so long as

the substance, the gist, the sting, of the libelous charge be justified.” Masson v. New Yorker

Mag., Inc., 501 U.S. 496, 517 (1991) (quotation marks omitted). “A publication deemed to be

defamatory must be read and construed in the sense in which the readers to whom it is addressed

would ordinarily understand it.” Crenshaw, 289 Ga. App. at 513 (quotation marks omitted).

           A. Dr. Amin Did Not Perform High Numbers of Hysterectomies, and the
              Hysterectomies He Performed Were Necessary, Authorized, and Performed
              with Consent.

        NBCUniversal published false statements that Dr. Amin performed a pattern of high

numbers of hysterectomies on women detained by ICE at ICDC, and that the hysterectomies

were wrong because they were forced, not necessary, not approved, and/or not consented to by

the patients. Such statements are included in every broadcast and social media post. For

example, as cataloged above, in the First Broadcast, NBCUniversal relayed the allegation: “High

numbers of female detainees, detained immigrants, at an ICE detention center in Georgia




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received questionable hysterectomies while in ICE custody.” The Second Broadcast published

the allegations: “Migrant women say that a doctor was performing unauthorized hysterectomies

on immigrant women detained at that facility.” The Fourth Broadcast: “Immigrant women at

that facility have told her that they routinely have been sent to a gynecologist who has performed

unnecessary procedures on them, including hysterectomies.” In the Fifth Broadcast: “Still to

come, what we’re learning about the doctor who is allegedly behind a pattern of unnecessary

hysterectomies performed on women held in an ICE detention facility.” The Facebook Post also

stated: “Nurse Dawn Wooten alleges mass hysterectomies performed at Georgia facility.” Pl.

SOMF ¶ 67. These publications also portrayed Dr. Amin as being called a “uterus collector,”

which signified that he performed enough hysterectomies to “collect” the uteruses removed.

   1. Dr. Amin Performed Two Hysterectomies on Women Detained by ICE at ICDC.

       All of NBCUniversal’s publications allege that Dr. Amin performed high numbers of

hysterectomies, which he did not do. The First Broadcast alleged “high numbers” and that Dr.

Amin is “the uterus collector,” an allegation repeated throughout the broadcasts. Pl. SOMF ¶ 69;

Doc. 51-2 at 27-28. The Second Broadcast stated: “That lawyer tells us that as many as 15

immigrant women were given full or partial hysterectomies or other procedures for which no

medical indication existed,” and that a lawyer named Ben Osorio stated that “two of his clients

received hysterectomies” while “another attorney . . . represents two different women who claim

they also had unnecessary hysterectomies.” Pl. SOMF ¶ 69; Doc. 51-3 at 12. The Fourth

Broadcast alleged “five different women who had had a hysterectomy done,” as well as that

patients “routinely have been sent to a gynecologist who has performed unnecessary procedures

on them, including hysterectomies just to underscore that.” Pl. SOMF ¶ 69. The Fifth described

“a pattern of unnecessary hysterectomies performed on women held in an ICE detention




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facility,” and “unnecessary medical procedures being undertaken on women in a systematic

fashion.” Doc. 51-3 at 13-14. The Facebook Post alleged “mass hysterectomies,” and the First

and Second Twitter Post both identified NBCUniversal as having spoken to “three women”

claiming they have received unnecessary hysterectomies. Pl. SOMF ¶¶ 65-68.

        But Dr. Amin performed only two hysterectomies on women detained by ICE at ICDC.

Dr. Amin testified that he had only performed two hysterectomies to women detained by ICE at

ICDC. Pl. SOMF ¶ 2. On September 15, 2020, Dr. Ada Rivera, Medical Director of the ICE

Health Service Corps, issued a statement that “since 2018, only two individuals at Irwin County

Detention Center were referred to certified, credentialed medical professionals at gynecological

and obstetrical health care facilities for hysterectomies in compliance with National Commission

on Correctional Health Care (NCCHC) standards.” Pl. SOMF ¶ 46.

                                Indeed, other of NBCUniversal’s sources for the story conveyed

to NBCUniversal that it did not appear that Dr. Amin performed “high numbers” of

hysterectomies at all. Sarah Owings testified that she told Jacob Soboroff that she and her

colleagues were not finding large numbers of hysterectomies. Pl. SOMF ¶ 53. Ben Osorio

testified that one of his clients had a hysterectomy that records indicated was necessary because

of cancer, and that while another one claimed that she also had a hysterectomy, he did not have

records to confirm it. Pl. SOMF ¶¶ 54-55. To date there are no medical records showing that

Mr. Osorio’s second client ever had a hysterectomy, or was a patient of Dr. Amin’s. Pl. SOMF ¶

56.

        Therefore, there is no genuine issue of material fact in dispute: Dr. Amin performed two

hysterectomies on women detained by ICE at ICDC. NBCUniversal’s Statements to the

contrary, that he performed “high numbers,” was “the uterus collector” and “collecting all of our




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uteruses,” “two of his clients” plus “two different women” claimed they had hysterectomies, “as

many as 15 immigrant women were given full or partial hysterectomies or other procedures for

which no medical indication existed,” “five different women who’d had a hysterectomy done,”

“three women claim they received unnecessary hysterectomies at ICE facility,” and the like, Pl.

SOMF ¶ 69, are false as a matter of law. Such Statements undoubtedly had “a different effect on

the mind of the viewer from that which the pleaded truth,” that Dr. Amin performed two

hysterectomies, “would have produced. Bryant, 311 Ga. App. at 234 (quotation marks omitted).

   2. The Hysterectomies Were Not “Unnecessary,” “Unauthorized,” or “Forced” or
      Without Consent.”

       NBCUniversal’s Statements also alleged that the hysterectomies were done without

necessity, authorization, and/or consent and were instead forced. For example, the First

Broadcast alleged “very unnecessary procedures.” Pl. SOMF ¶ 69. The Second Broadcast used

terms “forced,” “unnecessary,” “unauthorized,” and “for which no medical indication existed” to

describe the hysterectomies. Pl. SOMF ¶ 69; Doc. 51-3 at 2. The Fourth described “unnecessary

procedures on them, including hysterectomies,” and “removed their reproductive organs for no

medical reason and without them consenting to it.” Pl. SOMF ¶ 69. And the Fifth alleged

hysterectomies that were “unnecessary” and “without consent.” Doc. 51-6 at 2, 13-14. The

Facebook Post alleged hysterectomies for which the nurse “had no answers as to why they had

those procedures,” and the First and Second Twitter Post both described “unnecessary

hysterectomies.” Pl. SOMF ¶ 69. However, neither of the hysterectomies were unnecessary,

done without authorization, or done without the patient’s consent.

       i.      Both Hysterectomies Were Not Unnecessary.

       Both hysterectomies were medically necessary. Dr. Amin testified that both

hysterectomies were “justified for medical reasons,” one to remove cancer and the other to



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       ii.     Both Hysterectomies Were Authorized.

       Further, NBCUniversal’s Statements that the hysterectomies were “unauthorized” are

false. Dr. Amin testified that, once a patient decided to have surgery, ICE had to independently

approve or disapprove the surgery. Pl. SOMF ¶ 7. Additionally, the hospital personnel verified

that the procedure had been approved. Pl. SOMF ¶ 8. Dr. Amin’s surgical coordinator testified

that approval from ICE was required before Dr. Amin performed any procedure on a patient

detained by ICE at ICDC. Pl. SOMF ¶ 10. Dr. Amin’s office initiated the approval-seeking

process by providing information, including a description of the patient’s treatment to that point,

to ICDC, which would then obtain approval for the procedure from an ICE medical director. Pl.

SOMF ¶ 11. Finally, in her statement on September 15, 2020, Dr. Ada Rivera, Medical Director




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of the ICE Health Service Corps, also stated that “both recommendations for hysterectomies on

women detained by ICE at ICDC “were reviewed by the facility clinical authority and

approved.” Pl. SOMF ¶ 41.



       There is no genuine issue of material fact in dispute, and accordingly as a matter of law

NBCUniversal’s Statements that the hysterectomies were “unauthorized” are false.

       iii.    Both Hysterectomies Were Done with the Patient’s Consent and Were Not
               “Forced.”

       Uncontroverted evidence also establishes that NBCUniversal’s Statements that the

procedures were “forced” and/or done “without consent” are also false. Dr. Amin testified that

he always obtained informed consent from patients. Pl. SOMF ¶ 9. He also testified that

multiple different personnel in the hospital confirm that the patient understands the procedures

they are going through. Pl. SOMF ¶ 8.




                         A nurse at the Irwin County Hospital testified that when a patient

needed a procedure, doctors, nurses, and an anesthesiologist would always go over it, “making

sure that the patient understood everything that was going on,” and specifically as to Dr. Amin,

“he always explained what was what to his patients.” Pl. SOMF ¶¶ 13-14. Dr. Amin’s office

manager likewise testified that Dr. Amin obtained informed consent before performing any

surgery. Pl. SOMF ¶ 15. Dr. Amin’s surgical coordinator testified that consent forms “had to go

through several hands,” including hospital staff, before any surgery is performed. Pl. SOMF ¶

12. In her statement on September 15, 2020, Dr. Ada Rivera, Medical Director of the ICE



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Health Service Corps, also stated: “Detainees are afforded informed consent, and a medical

procedure like a hysterectomy would never be performed against a detainee’s will.” Pl. SOMF ¶

49.

        There is no genuine issue of material fact in dispute, and accordingly as a matter of law

NBCUniversal’s Statements that hysterectomies were forced or without consent are false.

           B. Dr. Amin Also Did Not “Tak[e] Out the Wrong Ovary On One Detained
              Immigrant,” or Falsely Tell Patients They Had Cancer and then Perform a
              Hysterectomy.

        Several of the Statements also concern allegations of other unnecessary and abusive

medical treatment of women detained by ICE at ICDC. Out of these, the Fourth Broadcast’s

statement that Dr. Amin had “taken out the wrong ovary on one detained immigrant,” resulting

in her winding up with “a total hysterectomy,” is also false as a matter of law.




                                                        In neither instance did the patient have “the

wrong ovary” taken out. Similarly, as discussed above, only two patients received

hysterectomies; in neither patient is it true “that turned out not to be the case and those

procedures happened anyway,” or that the patient later went to an oncologist who told her she

had not had cancer. Accordingly, Dr. Amin is due summary judgment as to the falsity of those

Statements, as well.

           C. Dr. Amin Did Not Operate an “Experimental Concentration Camp” and Did
              Not Collect Uteruses.

        As to the Statements that Dr. Amin operated an “experimental concentration camp,”



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“collected” uteruses, and was a “uterus collector,” Dr. Amin is also due summary judgment,

whether they are interpreted as statements of fact or as a negative opinion based on statements

capable of being proved false. Of course, to the extent that the Statements can be interpreted

themselves as statements of fact, Doc. 59 at 62-66, they are false and capable of being proven

false. As discussed above, Dr. Amin performed two hysterectomies, both for medical necessity,

and accordingly he did not “collect” uteruses nor did he “experiment” on patients by undertaking

such procedures but instead treated patients’ medical needs. To the extent a viewer would

interpret the Statements as constituting opinions, they are clearly based on the false defamatory

statements that Dr. Amin performed mass hysterectomies; without the assumption and statement

of such facts, “experimental concentration camp” and “uterus collector” do not make sense. See

N. Atlanta Golf Operations, LLC v. Ward, 363 Ga. App. 259, 262 (2022) (“An opinion can

constitute actionable defamation if the opinion can reasonably be interpreted, according to the

context of the entire writing in which the opinion appears, to state or imply defamatory facts

about the plaintiff that are capable of being proved false.” (quotation marks omitted)); id.

(“Where, as here, a defendant offers specific statements capable of being proved false in

explanation for a negative opinion about a plaintiff’s professional abilities, that statement can be

the ground for a defamation claim.” (citations omitted)).

           D. Nothing in the Broadcasts or Social Media Posts Alter the Gist of the False
              Statements, Which Would Have a Different Effect on the Mind of the Viewer
              From That Which the Truth Would Have Produced.

       The Statements “must be read and construed in the sense in which the readers to whom it

is addressed would ordinarily understand it.” Crenshaw, 289 Ga. App. at 513 (quotation marks

omitted). Rather than considering statements in isolation, “it is necessary to consider the entire

article in order to arrive at its true meaning.” Id. (quotation marks omitted). “Minor




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inaccuracies do not amount to falsity so long as the substance, the gist, the sting, of the libelous

charge be justified.” Masson, 501 U.S. at 517 (quotation marks omitted). Each broadcast and

social media post, considered in its entirety, did not alter the “gist” of the Statements that Dr.

Amin provided high numbers of unnecessary, forced, unauthorized, and/or unconsented to

hysterectomies, but instead reinforced that gist. The Statements had “a different effect on the

mind of the viewer from that which the pleaded truth would have produced.” Bryant, 311 Ga.

App. at 234 (quotation marks omitted).

       1. First Broadcast: “Deadline: White House”

       The script of the First Broadcast, “Deadline: White House,” September 15, 2020, is

attached to NBCUniversal’s Answer. See Transcript at Doc. 51-2. The segment concerning Dr.

Amin, which would affect how a viewer would ordinarily understand the other statements, was a

bit longer than three pages of script length. Id. at 27-30. The First Broadcast stated: “High

numbers of female detainees, detained immigrants, at an ICE detention center in Georgia

received questionable hysterectomies in ICE custody.” Id. at 27.

       Other statements throughout the segment reinforced and did not alter “the substance, the

gist, the sting” of the charge that Dr. Amin performed unnecessary hysterectomies. Masson, 501

U.S. at 517 (quotation marks omitted). For example, Julia Ainsley stated: “It seemed like [the

women detained by ICE at ICDC] were getting way too much care from a gynecologist and

perhaps doing very unnecessary procedures and not enough of what you would need in a short

term detention situation.” Id. at 29. Nothing in the First Broadcast changed the gist or sting of

the Statements that Dr. Amin performed high numbers of hysterectomies on women detained by

ICE at ICDC.




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       2. Second Broadcast: “All In with Chris Hayes”

       The script of the Second Broadcast, “All In with Chris Hayes,” September 15, 2020,

devoted around three and a half pages to its segment about Dr. Amin. See Transcript at Doc. 51-

3 at 2, 12-15. The Second Broadcast includes the statement: “Then, shocking whistleblower

allegations of atrocities at an ICE detention center including forced hysterectomies on women

who don’t need them.” Id. at 2. Again, nothing in the broadcast altered the “sting” or “gist” of

allegations of high numbers of hysterectomies. Instead, other statements reinforced that sting.

Dawn Wooten’s attorney, John Whitty, stated: “And with the number of cases [of forced or

unauthorized hysterectomies] that Ms. Wooten and others alluded to, there’s a lot—there’s a

large population of these—of these women, immigrants who’ve had this—who have been

mistreated in this way, assaulted. And should—you know, there’s a pool there that could come

forward. Let’s hope they do.” Id. at 15. The host of the Second Broadcast, Chris Hayes, also

reinforced the gist or sting of the Statements by crediting and commending Dawn Wooten’s

appearance: “A tremendous bravery coming forward, Ms. Wooten.” Id.

       3. Fourth Broadcast: “The Rachel Maddow Show”

       The Fourth Broadcast is “The Rachel Maddow Show,” September 15, 2020. See

Transcript at Doc. 51-5 at 2-11. Consideration of the whole broadcast reinforced, rather than

alters, the “gist” or “sting” of the Statements alleging that Dr. Amin conducting mass, forced

hysterectomies. Specifically, the host of the Fourth Broadcast, Rachel Maddow, devoted

multiple statements to tying Statements about Dr. Amin to the Trump Administration’s “forcible

systematic removal of children from their parents at the border,” describing forced

hysterectomies as “the next chapter in this same story.” Id. at 2-5. Ms. Maddow further tied the

allegations against Dr. Amin to broader Trump Administration immigration policies in her




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introduction of journalist Jacob Soboroff: “Joining us now is Jacob Soboroff, MSNBC

correspondent and author, of course, of ‘Separated: Inside an American Tragedy,’ which is the

seminal book on the child separation policy that I think is relevant context here.” Id.

       Ms. Maddow also supported the credibility of the allegations: “I should tell you that these

allegations from this whistle-blower are not isolated complaints.” Id. at 7. In response to a

statement by ICE that “only two individuals at the Irwin County Detention Center were referred”

for hysterectomies, Ms. Maddow critiqued: “Whether or not the women were referred for

hysterectomies or not, more than two women are saying they got them and more than two

women are telling lawyers as part of this complaint that they don’t know why they got them and

they don’t think they needed them.” Id. at 8. And she stated: “There are things that are—that

other people and that other lawyers for other people have declared as part of this complaint that

would seem to back up what she’s saying.” Id. Further: “There is significant corroboration for

the worst of the allegations that she’s making.” Id. at 10. Soboroff also stated that Dawn

Wooten was not “the only one saying so” regarding describing Dr. Amin as a “uterus collector.”

Id. He later described Dr. Amin as “a so-called medical professional.” Id. at 11. Again, the

broadcast as a whole left “a different effect on the mind of the viewer from that which the

pleaded truth would have produced,” and accordingly the Statements are false as a matter of law.

Bryant, 311 Ga. App. at 234 (quotation marks omitted).

       4. Fifth Broadcast: “All In with Chris Hayes”

       The Fifth Broadcast, “All In with Chris Hayes,” September 17, 2020, had a shorter

segment on Dr. Amin. See Transcript at Doc. 51-6 at 13-15. Nothing in the other statements in

the Fifth Broadcast altered the gist of the allegations of mass, forced hysterectomies without

consent. The Fifth Broadcast stated: “Still to come, what we’re learning about the doctor who is




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allegedly behind a pattern of unnecessary hysterectomies performed on women held in an ICE

detention facility.” Id. at 13. The host, Chris Hayes, also described the situation as “allegations

of unnecessary medical procedures being undertaken on women in a systematic fashion.” Doc.

51-6 at 14. He described the allegations as “so horrific.” Id. at 15. Finally, he called for action

and promised to deliver: “We truly need nothing less than a full thorough, complete, and timely

investigation. And we here on the show are going to be doing our best to make sure that

happens.” Id.

         5. The Twitter Posts and Facebook Post

         The First Twitter Post, the Second Twitter Post, and the Facebook Post were short, and in

each case consideration of the entire writing shows that the gist or sting was that Dr. Amin

performed hysterectomies without necessity. See Ward, 363 Ga. App. at 260-61 (examining

each Twitter post as a separate publication for purposes of summary judgment and holding that

some posts were due summary judgment for the defendant and other posts were not). The First

Twitter Post and the Second Twitter Post both alleged that “three women” claim they received

“unnecessary hysterectomies.” Pl. SOMF ¶ 69. The Second Twitter Post added the quote: “I

had no say in this.” Pl. SOMF ¶ 69. Likewise, the Facebook Post stated: “Nurse Dawn Wooten

alleges mass hysterectomies performed at a Georgia facility.” Pl. SOMF ¶ 69.

         There is not additional context in the social media posts aside from the Statements, and

nothing altered the gist or sting that a reader would have: that Dr. Amin performed a high

number of unnecessary hysterectomies that were forced and without the consent of the patients.

   II.      The Statements Were Defamatory.

         In addition to being false, the Statements are defamatory as a matter of law. “Although

as a general rule the question whether a particular communication is defamatory is for the jury, if




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the statement is not ambiguous and reasonably can have only one interpretation, the question of

defamation is one of law for the court.” Id. (quoting Speedway Grading Corp. v. Gardner, 206

Ga. App. 439, 441 (1992)). The Statements are not ambiguous and are obviously defamatory

because, as discussed below, they make charges against Dr. Amin in his trade (medicine) and

impute to him crimes.

    III.      The Statements Were Of and Concerning Dr. Amin.

           The Statements were “of and concerning” Dr. Amin. Whether a publication “concerns” a

plaintiff is “a matter of identity” so that a publication “concerns” the plaintiff if it is “about the

plaintiff.” 800 Marketing Solutions, Inc. v. GMAC Ins. Mgmt. Corp., Case No. 3:06-CV-038

(CDL), 2008 WL 2777140, at *5 (M.D. Ga. July 14, 2008) (citations omitted). The Statements

directly identified Plaintiff by name, picture, and description numerous times. Pl. SOMF ¶¶ 51,

60, 62, 64, 66.

           Even if the Statements had not directly identified Dr. Amin, the Statements are still “of

and concerning” him, because the “publication must be construed in the light of all the attending

circumstances, the cause and occasion of the publication, and all other extraneous matters which

will tend to explain the allusion or point out the person in question. Southland Pub. Co. v.

Sewell, 111 Ga. App. 803, 807 (1965) (quotation marks omitted). “[I]t is enough if the audience

would be likely to think that the defendant was talking about the plaintiff.” Desnick v. Am.

Broad. Co., Inc., 44 F.3d 1345, 1349 (7th Cir. 1995) (citations omitted); see also Brayton v.

Crowell-Collier Pub. Co., 205 F.2d 644, 645 (2d Cir. 1953) (finding jury could reasonably infer

that article read as a whole was actionable by plaintiff without mentioning him by name because

of evidence he controlled named corporation); Maples v. Nat’l Enquirer, 763 F. Supp. 1137,

1139 (N.D. Ga. 1990) (finding a plaintiff who was not the subject of an article nevertheless




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stated a claim for defamation).

    IV.      NBCUniversal Communicated the Statement to Third Parties.

          A defamation plaintiff must also demonstrate “that the defendant made an unprivileged

communication of that statement to a third party.” Houston v. Elan Fin. Servs., 135 F. Supp. 3d

at 1381 (quotation marks omitted). 4

          It is not disputed that NBCUniversal published the Statements. “A libel is published as

soon as it is communicated to any person other than the party libeled.” O.C.G.A. § 51-5-3. “The

defamatory statement must be published, and a plaintiff cannot prove publication without

introducing evidence of the specific statement used in an allegedly defamatory communication.”

Grace v. Lowery, 359 Ga. App. 881, 883 (2021) (quotation marks omitted). “[P]ublication of

defamatory information generally occurs when it is communicated to anyone other than the

person being defamed.” RCO Legal, P.S., Inc. v. Johnson, 347 Ga. App. 661, 673 (2018)

(citation omitted).

          Here, it is undisputed that NBCUniversal published the broadcasts from September 15,




4
  The Court has ruled that the publications are conditionally privileged, under the Georgia public interest privilege.
Doc. 59 at 15-26, 66. Accordingly, the Court has ordered that Dr. Amin must demonstrate that NBCUniversal
published the defamatory statements with actual malice, that is, knowledge that the statements were false or reckless
disregard of whether the statements were false. Id. at 26-27 (citations omitted). Dr. Amin is confident that he will
demonstrate to a jury that NBCUniversal published the statements with actual malice. However, at this point,
NBCUniversal has not produced all documents responsive to Dr. Amin’s requests for production of documents
pertaining to actual malice. See Doc. 111 at 1, 19 (granting in part Dr. Amin’s motion to compel production of
documents “within 30 days of this Order,” ordered on November 28, 2023). An attorney who served as a source for
NBCUniversal’s reporting moved to quash her subpoena for deposition, and her motion remains pending. See Amin
v. NBCUniversal, movant Azadeh Shahshahani, Motion to Quash Subpoena, Case No. 5:23-mc-00002 (S.D. Ga.
Sept. 9, 2023). Further, actual malice is a subjective state of mind, typically not appropriate for determination on
summary judgment, which is only available where there is no issue of material fact: “Weighing the evidence to
reach a conclusion regarding Defendants’ state of mind is inappropriate at the summary judgment phase of
litigation.” Reid v. Viacom Int’l Inc., Case No. 1:14-CV-1252-MHC, 2017 WL 11634619, at *5 (N.D. Ga. Sept. 22,
2017) (citations omitted). “Moreover, Georgia courts have repeatedly held that the issue of malice in conditional
privilege cases is generally a jury issue, inappropriate for summary judgment.” Hammer, 20 F.3d at 1143 (citations
to Georgia law omitted). “In general, questions of privilege [in defamation cases] are for the jury to decide.” N.
Atlanta Golf Operations v. Ward, 363 Ga. App. 259, 264 (2022) (quotation marks omitted). Accordingly, Dr. Amin
does not move for summary judgment on actual malice.


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2020 to September 17, 2020; the scripts are part of the pleadings, since NBCUniversal attached

them to its Answer. Doc. 51-2; Doc. 51-3; Doc. 51-5; Doc. 51-6. Further, NBCUniversal

published the First Twitter Post, the Second Twitter Post, and the Facebook Post by posting them

on those social network websites on September 17 and September 21. Pl. SOMF ¶¶ 65-67.

Accordingly, Dr. Amin is entitled to summary judgment on the publication element of his

defamation claim. See StopLoss Specialists, LLC v. VeriClaim, Inc., 340 F. Supp. 3d 1334,

1352-53 (N.D. Ga. 2018) (granting plaintiff’s motion for summary judgment in part, ruling as a

matter of Georgia law that the statements at issue were published).

    V. The Statements Are Actionable Regardless of Special Harm.

         Dr. Amin is also due summary judgment on the damages element of his defamation claim

because Georgia law provides that the Statements do not require proving special damages. 5

O.C.G.A. § 51-5-4(a)(4) provides that defamation consists in “[u]ttering any disparaging words

productive of special damage which flows naturally therefrom,” and in such circumstances

“special damage is essential to support an action.” O.C.G.A. § 51-5-4(b). However, statements

need not produce special damage to be actionable if they are “[i]mputing to another a crime

punishable by law” or “[m]aking charges against another in reference to his trade, office, or

profession, calculated to injure him therein.” O.C.G.A. §§ 51-5-4(a)(1), (3). In those

circumstances of defamation per se, “damage is inferred.” O.C.G.A. § 51-5-4(b); see also

Walker v. Walker, 293 Ga. App. 872, 876 (2008) (“Because defamation concerning trade, office,


5
  As with actual malice, Dr. Amin is confident that he can prove special harm caused by NBCUniversal’s
publications, including mental pain and suffering and anguish that manifested in his health and lost patients to his
practice. However, the amount of such damages is the province of the factfinder at trial, not the Court on summary
judgment. See, e.g., Simon v. Shearson Lehman Bros., Inc., 895 F.2d 1304, 1318 (11th Cir. 1990) (“The nature of
special damages are such as really took place. They are not to be implied but are to be specifically proved.”
(quotation marks omitted)); see also Am. Civ. Liberties Union, Inc. v. Zeh, 312 Ga.. 647, 653 (2021) (“Credibility
determinations, the weighing of the evidence, and the drawing of legitimate inferences from the facts are jury
functions, not those of a judge, whether he is ruling on a motion for summary judgment or for a directed verdict.”
(quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986)).


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or occupation is defamation per se, damage is inferred, and the plaintiff need not plead or prove

special damages.” (quotation marks omitted)).

       Here, NBCUniversal’s Statements made charges against Dr. Amin in reference to his

trade, office, or profession, and they also impute to Dr. Amin a crime punishable by law. As to

one’s profession, “words must either be spoken of the plaintiff in connection with his calling or

they must be of such a nature such as to charge him with some defect of character or lack of

knowledge, skill, or capacity as necessarily to affect his competency successfully to carry on his

business, trade, or profession.” Bellemead, LLC v. Stoker, 280 Ga. 635, 637 (2006) (quotation

marks omitted). “Furthermore, when words are defamatory per se, innuendo—which merely

explains ambiguity where the precise meaning of terms used in the allegedly slanderous

statement may require elucidation—is not needed.” Id. at 638 (citations omitted). The

Statements made charges against Dr. Amin in reference to his trade as physician, without any

need for interpreting innuendo. For example, the First Broadcast stated: “High numbers of

female detainees, detained immigrants, at an ICE detention center in Georgia received

questionable hysterectomies while in ICE custody,” and it further identified “Mahendra Amin”

as the doctor at issue, “a gynecologist in Douglas, Georgia.” Pl. SOMF ¶¶ 51, 69. The other

broadcasts echoed the First, in alleging “unauthorized,” “unnecessary,” and “without consent”

hysterectomies. Pl. SOMF ¶ 69. The First and Second Twitter Posts likewise accused Dr. Amin

of performing “unnecessary hysterectomies,” and the Facebook Post alleged “mass

hysterectomies performed.” Pl. SOMF ¶ 69. These Statements all accused Dr. Amin, a

physician who determines with patients whether procedures such as hysterectomies are

appropriate and helps perform hysterectomies when the patient chooses to have them, of

performing unnecessary hysterectomy procedures, and therefore they are “in connection with




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[Dr. Amin’s] calling” as a physician. Bellemead, 280 Ga. at 637. Innuendo is not necessary to

interpret the words as concerning his trade or profession, since all of the broadcasts and social

media posts used the term “hysterectomies.” Pl. SOMF ¶ 69; Doc. 51-6 at 13.

       The Statements also impute to Dr. Amin a crime punishable by law. A district court

granted in part the plaintiffs’ motion for summary judgment as to whether “this appears to be

Insurance Fraud” constituted defamation per se under Georgia law. StopLoss, 340 F. Supp. 3d at

1351-52. The court noted that insurance fraud is a crime that is punishable in Georgia and that

the phrase “on its face charges the commission of specific crime [i.e., insurance fraud]

punishable by law.” Id. at 1351 (quotation marks omitted); see also Turnage v. Kasper, 307 Ga.

App. 172, 184 (2010) (“Turnage’s statement to Kasper’s neighbor that Kasper was a known drug

user . . . imputed to her a crime punishable by law, and thus alone was sufficient to serve as the

basis for her claim of slander per se.”); Cate v. Patterson, 354 Ga. App. 108, 112 (2020) (holding

that statement that a trailer was “taken . . . without proper ownership, documentation and

payment” “impute[d] the criminal offense of theft” for purposes of libel per se).

       Here, the broadcasts accused Dr. Amin of performing hysterectomies that were

“unnecessary,” “unauthorized,” and “without consent.” Pl. SOMF ¶ 69. And again, the same

accusations were repeated in the First and Second Twitter Posts, which accused Dr. Amin of

performing “unnecessary hysterectomies,” and the Facebook Post, which alleges “mass

hysterectomies performed.” Pl. SOMF ¶ 69. “A person commits the offense of battery when he

or she intentionally causes substantial physical harm or visible bodily harm to another.”

O.C.G.A. § 16-5-23.1(a). “A person commits the offense of simple battery when he or she

either: (1) Intentionally makes physical contact of an insulting or providing nature with the

person of another; or (2) Intentionally causes physical harm to another.” O.C.G.A. § 16-5-23(a).




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Both crimes are misdemeanor crimes punishable under Georgia law. O.C.G.A. § 16-5-23.1(c);

O.C.G.A. § 16-5-23(b). “A person commits the offense of aggravated battery when he or she

maliciously causes bodily harm to another by depriving him or her of a member of his or her

body, by rendering a member of his or her body useless, or by seriously disfiguring his or her

body or a member thereof.” O.C.G.A. § 16-5-24(a). Aggravated battery is punishable in

Georgia “by imprisonment for not less than one nor more than 20 years.” O.C.G.A. § 16-5-

24(b). By accusing Dr. Amin of performing hysterectomies without medical necessity,

authorization, or consent, the Statements imputed to him these crimes punishable by law in

Georgia.

       Because the Statements made “charges against [Dr. Amin] in reference to his trade,

office, or profession, calculated to injure him therein” because he is a doctor, and in the

alternative imputed to Dr. Amin “a crime punishable by law,” O.C.G.A. § 51-5-4(a), Dr. Amin is

due summary judgment on the element of his defamation claim that the Statements are actionable

even in the absence of special harm.

   VI. NBCUniversal’s First, Third, Fourth, Seventh, Eleventh, and Twelfth Affirmative
   Defenses Should Be Dismissed.

           A. First Defense.

       NBCUniversal first asserts: “The FAC is barred because it fails to state a claim upon

which relief can be granted.” Doc. 51 at 42. In the order denying in part NBCUniversal’s

motion for judgment on the pleadings, the Court ruled that Dr. Amin’s case does state claims for

which relief can be granted. Doc. 59 at 66-67. NBCUniversal’s First Affirmative Defense

should accordingly be dismissed.

           B. Third Defense.

       NBCUniversal states: “Plaintiff’s claim is barred under New York Civil Rights Law



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Section 76-a(2) because this is an action involving public petition and participation, and Plaintiff

cannot establish, by clear and convincing evidence, that NBCU acted with actual malice as to the

publication of the challenged statements.” Doc. 51 at 43. The Court has ruled that New York

law does not apply to this case brought in a federal court sitting in Georgia under Georgia

defamation law by a plaintiff domiciled in Georgia, where he suffered the most harm from the

tort, Doc. 59 at 6-7, and accordingly NBCUniversal’s Third Affirmative Defense should be

dismissed.

             C. Fourth Defense.

       For the same reason, NBCUniversal’s Fourth Affirmative Defense should be dismissed:

“Plaintiff’s claim is barred because the challenged statements are absolutely privileged under

New York Civil Rights Law Section 74 as a fair and true report on an official proceeding.” Doc.

51 at 43.

             D. Seventh Defense.

       NBCUniversal further argues: “Plaintiff’s claim is barred because the challenged

statements are true or substantially true and thus cannot be the basis for a defamation action.”

Doc. 51 at 43. As discussed above, there is no genuine dispute: the Statements were false.

Accordingly, NBCUniversal’s Seventh Affirmative Defense should also be dismissed as to the

Statements.

             E. Eleventh Defense.

       Eleventh: “Plaintiff’s claim is barred because the challenged statements are non-

actionable statements of opinion.” Doc. 51 at 44. The Court ordered several statements be

dismissed because they constituted opinion, but it ruled that the bulk of the statements Dr. Amin

alleges defamed him do not constitute non-actionable opinion. Doc. 59 at 66-67. Accordingly,




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NBCUniversal’s Eleventh Affirmative Defense should also be dismissed.

           F. Twelfth Defense.

       NBCUniversal next argues: “Plaintiff’s claim is barred because he has not suffered any

actual harm or damages proximately caused by any of the challenged statements.” Doc. 51 at 44.

However, as discussed above, the conduct NBCUniversal imputed to Dr. Amin is both

“punishable by law” and “against another in reference to his trade, office, or profession,

calculated to injure him therein.” O.C.G.A. §§ 51-5-4(a)(1), (3). Accordingly, even if

NBCUniversal could establish that Dr. Amin suffered no “actual harm or damages proximately

caused by any of the challenged statements,” which it cannot, Dr. Amin is also entitled to

summary judgment on NBCUniversal’s Twelfth Affirmative Defense.

                                         CONCLUSION

       Dr. Amin performed two hysterectomies on women detained by ICE at ICDC. Both were

necessary, authorized, and consented to, and neither was forced. Further, Dr. Amin did not

remove the wrong ovary from a patient. There is no genuine dispute on these matters.

Accordingly, the Statements are false as a matter of law. Also, it is undisputed that

NBCUniversal published the Statements. Further, there is no genuine dispute of material fact

that the Statements are defamatory, of and concerning Dr. Amin, and actionable without proof of

special damage because they are defamatory per se. Accordingly, Dr. Amin is due summary

judgment as to those elements, and to NBCUniversal’s affirmative defenses discussed above.



[Signature on following page.]




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         Respectfully submitted this 19th day of December 2023.



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                              CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing PLAINTIFF’S MOTION

FOR PARTIAL SUMMARY JUDGMENT will be served upon all attorneys in this matter by

filing with the Court’s CM/ECF system.

       This 19th day of December 2023.

                                   /s/ Stacey G. Evans
                                   Stacey G. Evans




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